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IN THE UNI'I`ED STATES DlSTRlCT COURT
FOR TllE NORTHERN l)ISTRIC'l` OF TEXAS
DALLAS DIVISION

KANEKA CORPORATION,

Plaintiff NO. 3:10-cv-l430-P

V.

JBS HAIR, INC., UNO & COMPANY,
L'l`D,, and JINNY BEAUTY SUPPLY
COMPANY_ INC.

Defendants.

QMOO>¢MV_A:IDZ/AZAV/Z¢O'>WQWJGO>OODW>

 

ORDER FOR ADMISSION PRO HAC VICE

The Court has considered the Application for Admission Pro Hac Vice Of
Samuel Sun<;mok Lee. Yulchon Attornevs at Law. Textile Center lZF, 518 Teheran-ro. Daechi-dong, Gananam;gn

Seoul. Korea 135-713.

It is ORDERED that:

E‘t?ié application is granted The Clerk of Court shall deposit lhe application fee to the account ol`
the NOn-Appropriated Fund oflhis Court. lt is further ORDERED lhat, if the Applicz-int has nol
already done so, the Applicant must register as an EC`F User within l4 days Sce l.R 5. l (l) and
LCrR 49.:(§).

flihc application is denied Th-e C`l€i'l< ol`('ou:'l shall return the admission l`cc m the /\ppliczinl_

 

 

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DATE " ‘ PRESAT)ING JUDGE

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